Case 2:04-cr-20350-SH|\/| Document 37 Filed 07/29/05 Page 1 of 2 Page|D 47

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IN THE UN].TED STATES DISTRlcT coURT
FOR THE WESTERN DISTRICT FoR TENNESSEE 05 JUL 29 H h= 20
WESTERN DlvlsloN
THOMAS M. GOLB_D
UNITED sTATES oF AMERICA, CLEFK U.S_. _Efr.?TF?K}I OOURT
WID '-')l" l;`-<, #.%"§»WNS
Plaintiff,
vs. Cr. No. 04-20350 D
KEVIN MICKSCH,
Defendant.

 

ORDER GRANTING DEFENDANT'S MOTION TO WAIVE
APPEARANCE AT REPORT DATE

 

For good cause shown, defendant's request to Amend the conditions of pre Trial Release to
allow travel to Fort Walton Beach, Florida from the 5th day of August, 2005 through the 8“‘ day of

August, 2005 is hereby GRANTED.

lt is so 0RDERED, this the,,Zq_ day of QO/,,<,@J/ , 2005.

 
    

UNITED ST ES JUDGE

 
 
 

Thls document entered on the docket s'n
w\th F\u\e 55 andlor 32{b} FRCrP on

 

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Honorable Bernice Donald
US DISTRICT COURT

